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                                EXHIBIT 1
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       18.     Defendant Ford assembled the 201 0 Ford Fusion at one of its plants, including

assembling the steering column and steering wheel.

       19.     At all times, the steering wheel placed in decedent's 2010 Ford Fusion was

defectively designed as it was not satisfactorily bolted onto the steering column to prevent it

from dislodging from the column.

       20.     At all times, the steering wheel was defectively manufactured as it did not have

splines that would keep the steering wheel attached to the steering column.

       21.     At all times, the steering wheel was defectively installed in the 2010 Ford Fusion

as it was not installed in a manner that would prevent it from dislodging during use.

       22.     The 2010 Ford Fusion and steering wheel as manufactured, maintained,

assembled and/or produced contained a defect making the 2010 Ford Fusion unsafe.

       23.     No changes were made to the steering wheel or steering column ofthe 2010 Ford

Fusion owned by Bryant Johnson and being operated by Bryant Johnson on August 31, 2017.

       24.     As a direct and proximate result of the result of the unsafe design, manufacturing,

assembly and/or installation of the steering wheel of the 2010 Ford Fusion owned by decedent,

Bryant Johnson, the steering wheel dislodged causing decedent to be unable to       st~er   the 2010

Ford Fusion, thereby crashing it into a pole.

       25.     As a direct and proximate cause of the defective design, manufacture, assembly or

installation of the steering wheel, Bryant Johnson died.

       26.     Plaintiff has been damaged by the loss of her father, Bryant Johnson, by way of

loss of love, caring, support, financial support, and other such similar damages.

       27.     Plaintiff has been damaged in an amount in excess of Twenty-Five Thousand

Dollars.
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          33.      On August 31, 2017, Decendent Bryant Johnson was operating his vehicle on

Ferguson Road, at or near the intersection of Ferguson and West Florissant, when the steering

wheel dislodged, causing Decedent to crash into a pole.

          34.      At all times Defendant Ford had a duty to use ordinary care to design,

manufacture, build, and construct a vehicle that could be used for its intended purpose free from

defect.

          35.      That on or about August 31, 2017, the steering wheel of the 20 10 Ford Fusion

referenced above was negligently designed, manufactured, assembled and/or installed.

          32.      Defendant Ford owed to its customers and the public a duty to design,

manufacture, sell and distribute safe and working automobiles that were not defective or

otherwise umeasonably dangerous to use, and the duty to adequately warn its customers

and the public about any defective or otherwise umeasonably dangerous conditions of

its automobiles.

          33.      At the time of Plaintiffs injury, the subject Ford Fusion was being used

in a manner reasonably anticipated by Defendant Ford.

          34.      Defendant Ford failed to use due care under the circumstances and was

thereby negligent in its performance and in breach of its duties to Plaintiff and others.

          35.      The defective conditions of the subject Fusion and resulting death to

Bryant Johnson was the direct and proximate result of the negligence and carelessness

of Defendant Ford in the following respects:

                a. Defendant Ford failed to exercise ordinary care in designing and

                   manufacturing the subject Fusion;
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        b. Ford negligently and carelessly entered the defective Ford Fusion into the

             stream of commerce;

        c. Ford negligently and carelessly sold the defective Fusion despite the

             manufacturing and/or design defects as identified above;

        d. Ford negligently and carelessly designed the defective Fusion with a

             defective steering wheel;

        e. Ford negligently and carelessly manufactured the defective Fusion with

             defective steering wheel;

        f.   Ford negligently and carelessly failed to discover the defects of the

             Fusion identified above prior to selling or entering it into the stream of

             commerce;

        g. Ford negligently and carelessly failed to adequately warn that the 2010

             Ford Fusion identified above was defectively and unreasonably

             dangerous;

        h. Ford negligently and carelessly failed to adequately warn that the 2010

             Ford Fusion was defectively and unreasonably dangerous after Ford had

             active and/or constructive knowledge of the unreasonably dangerous and

             defective conditions;

        1.   Ford negligently and carelessly failed to provide users with adequate

             instructions or testing procedures regarding proper inspection,

             maintenance or repair of the defects existing on the Ford Fusion;

        J.   Defendant Ford negligently and carelessly failed to adequately inspect

             and/or test the Ford Fusion for its intended use;
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         40.   Plaintiff restates, realleges and incorporates by reference each and every

allegation of Paragraphs 1-14, Paragraphs 15-28 of Count I, and Paragraphs 29-39 of Count II

with the same force and effect as if fully restated herein.

         41.   On or about July 6, 2017 Defendant John Doe was a dealer, distributor or vendor

of used vehicles, and more particularly the 2010 Ford Fusion as more particularly described

above.

         42.   On July 6, 2017, Defendant John Doe sold the 2010 Ford Fusion to the decedent,

Bryant Johnson.

         43.   The 2010 Ford Fusion sold by Defendant John Doe contained a design and/or

manufacturing defect whereby the steering wheel would become dislodged during regular use.

         44.   Defendant John Doe knew, or, with the use of ordinary care, could have known of

the defective condition of the 201 0 Ford Fusion it sold to Decedent Bryant Johnson prior to

placing the vehicle in the stream of commerce.

         45.   The decedent, Bryant Johnson, used the 2010 Ford Fusion in its anticipated use by

driving the vehicle on a public thoroughfare in St. Louis County when he crashed the vehicle

into a pole.

         46.   As a direct and proximate cause of the Decedent putting the vehicle to its intended

use, Decedent died.

         47.   As a result of Defendant negligently and carelessly selling the defective product

Plaintiff was damaged by the death of her father, Bryant Johnson.

         48.   As a direct and proximate result ofthe death of Bryant Johnson, Plaintiff

sustained the following damages:

               a.      Loss of love and support.
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